Case 2:12-cv-10273-PDB-RSW ECF No. 100 filed 05/11/17       PageID.2487    Page 1 of 2



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
                           ____________________

 SYLVIA JAMES,                             Case No. 2:12-cv-10273

             Plaintiff,                    Hon. Paul D. Borman
 v.                                        Magistrate Judge R. Steven Whalen

 HILLIARD HAMPTON, et al.,

             Defendants.


         NOTICE OF WITHDRAWAL AND ORDER TERMINATING
                         APPEARANCE

       Having concluded my representation of Defendants Deborah Green, Paul

 Fischer, the Judicial Tenure Commission of the State of Michigan, and Valdemar

 Washington, I request that the Court terminate my appearance in this action.


 Dated: May 8, 2017                    s/John J. Bursch
                                       John J. Bursch (P57679)
                                       Bursch Law PLLC
                                       9339 Cherry Valley Ave SE, #78
                                       Caledonia, Michigan 49316
                                       616.450.4235
                                       jbursch@burschlaw.com
Case 2:12-cv-10273-PDB-RSW ECF No. 100 filed 05/11/17       PageID.2488      Page 2 of 2




                                      ORDER

       IT IS ORDERED that John J. Bursch’s appearance in this action is hereby

 terminated.

                                              s/Paul D. Borman
                                              Paul D. Borman
                                              United States District Judge

 Dated: May 11, 2017

                           CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of the foregoing order was served upon
 each attorney or party of record herein by electronic means or first class U.S. mail
 on May 11, 2017.

                                              s/D. Tofil
                                              Deborah Tofil, Case Manager




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